Case 1:19-mj-00767-RT Document1 Filed 08/05/19 Page1lof4 PagelD.1

AO 106 (Rev. 06/09) Affidavit for Search Warrant

ORIGINAL UNITED STATES DISTRICT COURT FILED IN THE
UNITED STATES DISTRICT COURT
for the DISTRICT OF HAWAII

District of Hawaii

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

AUG 05 2019
at %

o'clock and’ min.4 M

SUE BEITIA, CLERK.
Case No.: 19-0767RT » CLERK Jim

Multicolored cardboard parcel weighing 12.00 pounds.
Package further Identified by a red-inked numeral 18408
which is 1.25 inches in length.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location): See Attached Affidavit

located in the Honolulu District of HAWAII, _ there is now concealed fidentify the

person or describe the property to be seized):

See Attached Affidavit

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Ol sevidence of a crime;
contraband, fruits of crime, or other items illegally possessed;

&
property design for use, intended for use, or used in committing a crime;
Oo

a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
Title 7 United States code, Section 7702 et. seq.

The application is based on these facts:
See Attached Affidavit

& Continued on the attached sheet.

QO Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C.§ 3103a, the basis of which is set forth on the attached sheet.

r

' = .

A, at arrrnseO
By. t OF

 

Applicant's sighaty)-e

Joyce Hanagami, Plant Protection and Quarantine Officer

Printed name and title

 

Sworn to me telephonically and signed by me pursuant to Fed.R.Crim.P.4.1 and 4(d),

Date: 8/5/2019 at 8:28 am.

City and State: Honolulu, Hawaii

 

/s/ Rom A. Trader

 

Rom A. Trader
United States Magistrate Judge

 
Case 1:19-mj-00767-RT Document1 Filed 08/05/19 Page2of4 PagelD.2

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

The undersigned, being duly sworn on oath, deposes and says:

A. That he/she is a duly authorized federal law enforcement agent currently assigned to
the Honolulu Postal Facility identified further by name *(1), title *(2), agency *(3), and *(4) years
of experience enforcing federal agricultural quarantine laws as follows:

*1. JOYCE HANAGAMI

*2. PLANT PROTECTION AND QUARANTINE OFFICER
*3. ANIMAL AND PLANT HEALTH INSPECTION SERVICE
*4, 33

B. That the Animal and Plant Health Inspection Service is an agency of the U.S.
Department of Agriculture responsible for the enforcement of the Plant Quarantine Act (7 U.S.C.
151-165 and 167) and the Plant Pest Act (7 U.S.C. 150aa-150jj) and the regulations promulgated
there under. The purpose of these laws is to prevent the spread of dangerous plant diseases and
insect infestations that are new to or not widely prevalent or distributed within or throughout the
United States.

C. That the Animal and Plant Health Inspection Service detector dog handler identified
below *(5) informed your affiant on the date *(6) indicated below that he/she obtained a parcel
now identified below *(7) which was being sent through the U.S. Mail to a place in the United
States outside the state of Hawaii and which does not bear any marking, certificate or limited
permit indicating that it has been certified for shipment by APHIS, as required by 7 CFR 318.13.

The handler advised me that the handler had the agriculture detector dog named below *(8)
conduct an exterior examination of the above described parcel. The dog handler advised that when
the dog examined the parcel it alerted. The dog handler further advised that the dog alert indicates
that the package contains one or more of the items (1) through (4) described in the attached warrant
which are items subject to the above cited regulation. The dog handler further advised me that
after the detector dog alerted the handler uniquely identified said parcel by affixing an
individualized red inked number and signing his/her name under the individualized number.

*5. Dennis Li

*6. 8/3/2019

*7, Multicolored cardboard parcel weighing 12.00 Ibs. which is now being held in the
APHIS office, Room 305 of the main Honolulu Post Office. Said package is further identified by
a red-inked numeral 18408 which is | 1/4 inches in length and signed on a red-inked line below
such number by Dennis Li, the person who affixed such identification.

*8. GEORGIA

D. That your affiant advises that the qualifications of the above named dog handler and
detector dog or as more fully described in Attachment A which is attached hereto and is
incorporated by reference herein.
Case 1:19-mj-00767-RT Document1 Filed 08/05/19 Page3o0f4 PagelD.3

E. That your affiant advises that 7 U.S.C.161 and 163 makes it a misdemeanor to violate
7CFR 318.13 which prohibits moving or offering for shipment to and point in the United States
outside Hawaii any fresh fruit or vegetable or other regulated article unless properly certified by
APHIS and in a properly marked container.

F. That your affiant advises that in recent years numerous first class parcels were damaged
in the mails thereby revealing their contents, and have been found to be moving in violation of the
above cited laws and regulation. Over 40 of these first class parcels contained one or more of the
following items (1) through (4) described in the attached warrant and found to be infested with
insect pests found in Hawaii but not in other states of the United States. The insects found in any
one of the above parcels could be responsible for a pest outbreak similar to those that have cost
over $200,000,000 in federal funds to eradicate in the years since 1976.

G. That based on the facts set forth in this Affidavit, your affiant submits there is probable
cause to believe that regulated articles are being concealed in the parcel described and seeks the
issuance of a search warrant, directing a search of the parcel as described in paragraph C and
seizure of any regulated items contained therein.

Further affiant sayeth naught.

A Lor
dnt oF

L PPQ Officer’

 

Sworn to me telephonically and signed by me pursuant to Fed.R.Crim.P.4.1 and 4(d)
this 5th day of August 2019.

/s/ Rom A. Trader
Rom A. Trader
United States Magistrate Judge

 
Case 1:19-mj-00767-RT Document1 Filed 08/05/19 Page4of4 PagelD.4

ATTACHMENT A

Dennis Li is a Plant Health Safeguarding Specialist Canine Officer employed by the United States Department
of Agriculture, who has received special training and is experienced in the detection and identification of
regulated and prohibited agricultural products. Officer Li also went through a specialized training course as a
dog handler in Newnan, Georgia in 2015.

Officer Li is both the trainer and handler for agricultural detector dog “Georgia”. In 2015, Georgia was trained
during a 10 week course at the National Detector Dog Training Center in Newnan, Georgia, where she received
special training in the identification of various agricultural products by the detection of their distinctive odors.
Once such odors are detected, Georgia was taught to “alert” Officer Li. The training Georgia received included
the detection of fresh fruits and vegetables, and plant materials in different types of containers, such as baggage,
parcels, mail, and cargo.

Officer Li has been Georgia’s handler since April 2015. Under Officer Li’s handling, Georgia has undergone
weekly training to gain proficiency in the detection of the agricultural items mentioned above. In order to pass
this training, Georgia has had to correctly identify the odors of fresh fruits and vegetables, and plant materials at
a minimum of twenty consecutive times.

Since July 2015, Georgia has successfully identified fresh fruits and vegetables, and plant materials in various
containers. Georgia has correctly identified agricultural products 90% or more of the time.

Officer Li believes that Georgia has been reliable both in training and on the job in detecting the odors of fresh
fruits and vegetables, and plant materials.
